                                                                                      ✔ Original
                                                                                      u                         u Duplicate Original
AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV
                                                                                                                               Nov 07, 2024

                                           UNITED STATES DISTRICT COURT                                                           s/ JDH

                                                                          for the
                                                             Eastern District
                                                          __________  DistrictofofWisconsin
                                                                                   __________

                  In the Matter of the Search of                             )
              (Briefly describe the property to be searched                  )
               or identify the person by name and address)
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                                                                                    Case No.   24-M-520 (SCD)
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                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                         Eastern   District of            Wisconsin
(identify the person or describe the property to be searched and give its location):
  Please see Attachment A.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  Please see Attachment B.




                                                                                         11-21-24
        YOU ARE COMMANDED to execute this warrant on or before                                         (not to exceed 14 days)
      u in the daytime 6:00 a.m. to 10:00 p.m. X
                                               u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                   Honorable Stephen C. Dries                .
                                                                                                   (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                          .


Date and time issued:                 11-7-24. 9:20 am
                                                                                                           Judge’s signature

City and state:                Milwaukee, WI                                          Honorable Stephen C. Dries, U.S. Magistrate Judge
                                                                                                         Printed name and title
                        Case 2:24-mj-00520-SCD                      Filed 11/07/24      Page 1 of 16          Document 1
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title




                         Case 2:24-mj-00520-SCD                      Filed 11/07/24      Page 2 of 16          Document 1
                                       ATTACHMENT A

                                    Property to Be Searched

       This warrant applies to GPS location data for all records and unique device/user

identifiers pertaining to location information during the following listed date and times,

       1.      Device #1:

       IMEI #350182015213236 belonging to 2023 Toyota Camry bearing VIN

       #4T1G11AK4PU760822, on April 27, 2024, from 3:00 AM until 7:20 AM.




                                                     8
       Case 2:24-mj-00520-SCD           Filed 11/07/24      Page 3 of 16      Document 1
                                            ATTACHMENT B

                                      Particular Things to be Seized

   I.      Information to be Disclosed by the Provider

        To the extent that the information described in Attachment A is within the possession,

custody, or control of Toyota Motor Sales, USA and Toyota Motor North America, Inc., including

any information that has been deleted but is still available to the Provider or that has been preserved

pursuant to a request made under 18 U.S.C. § 2703(f), the Provider is required to disclose to the

government the following information pertaining to the Account listed in Attachment A for the

time period of April 27, 2024, from 3:00 AM until 7:20 AM:

           a. The following information about the customers or subscribers of the Account:

                    i. Account Names (including subscriber names, usernames, and screen

                       names);

                   ii. Addresses (including mailing addresses, residential addresses, business
                       addresses, and e-mail addresses);

                  iii. GPS locations of the vehicle;

                   iv. Other subscriber numbers or identities (including the registration Internet
                       Protocol (“IP”) address);

                   v. Means and source of payment for such service (including any credit card
                      or bank account number) and billing records;

           b. All records and other information (not including the contents of communications)

               relating to wire and electronic communications sent or received by the Account,

               including:

                    i. MMS, and data; email addresses and IP addresses (including source and
                       destination); websites visited;

                    i. IMEI/IMSI, or other device identifiers of devices connected to the
                       onboard “connected services” of the vehicle;


                                                       9
        Case 2:24-mj-00520-SCD           Filed 11/07/24       Page 4 of 16      Document 1
                    ii. All historical text content available pursuant to this warrant.


                   iii. Data obtained by Toyota which is collected from devices which connect to
                        the onboard “connected services” of the vehicle, including text, email,
                        contact lists, phone numbers, IMSI/IMEI numbers, IP addresses,
                        advertising ID numbers, social media accounts.

   II.      Information to be Seized by the Government

         All information described above in Section I that constitutes evidence, fruits, contraband,

and instrumentalities of violations of Title 18 U.S.C. §§ 2119(1) (Carjacking) and 924(c)

(Brandishing of a Firearm during a Crime of Violence).

         Law enforcement personnel (who may include, in addition to law enforcement officers and

agents, attorneys for the government, attorney support staff, agency personnel assisting the

government in this investigation, and outside technical experts under government control) are

authorized to review the records produced by the Provider in order to locate the things particularly

described in this Warrant.




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         Case 2:24-mj-00520-SCD           Filed 11/07/24      Page 5 of 16      Document 1
  AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                        UNITED STATES DISTRICT COURT                                                               Nov 07, 2024
                                                                     for the                                                          s/ JDH
                                                         Eastern District
                                                       __________         of Wisconsin
                                                                   District  of __________

                In the Matter of the Search of                                 )
              (Briefly describe the property to be searched                  )
               or identify the person by name and address)
*36ORFDWLRQGDWDIRUDOOUHFRUGVDQGXQLTXHGHYLFHXVHULGHQWLILHUV
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                                                                                              Case No.
                                                                                                         24-M-520 (SCD)
SHUWDLQLQJWRORFDWLRQLQIRUPDWLRQIRU'HYLFHGXULQJWKHGDWHVDQGWLPHV )
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       APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
          I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
  penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
  property to be searched and give its location):
    Please see Attachment A.

  located in the              Eastern               District of                 Wisconsin                 , there is now concealed (identify the
  person or describe the property to be seized):
    Please see Attachment B.


            The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                 ✔ evidence of a crime;
                 u
                 u contraband, fruits of crime, or other items illegally possessed;
                   u property designed for use, intended for use, or used in committing a crime;
                   u a person to be arrested or a person who is unlawfully restrained.
            The search is related to a violation of:
               Code Section                                                               Offense Description
          18 U.S.C. §§ 2119(1) and 2(a)             Carjacking
          18 U.S.C. §924(c)(1)(A)(ii)               Brandishing a Firearm During and In Relation to a a Crime of Violence

            The application is based on these facts:
          Please see Affidavit.

             ✔ Continued on the attached sheet.
             u
             u Delayed notice of        days (give exact ending date if more than 30 days:                                     ) is requested under
               18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                                PAUL KOZELEK                        Digitally signed by PAUL KOZELEK
                                                                                                                    Date: 2024.11.06 09:50:33 -06'00'
                                                                                                         Applicant’s signature

                                                                                                 Paul Kozelek, Special Agent - ATF
                                                                                                         Printed name and title

  Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                        telephone                       (specify reliable electronic means)).


  Date:
                11-7-24
                                                                                                           Judge’s signature

  City and state: Milwaukee, WI                                                      Honorable Stephen C. Dries, U.S. Magistrate Judge
                     Case 2:24-mj-00520-SCD                       Filed 11/07/24               Page 6 ofPrinted
                                                                                                          16 name and title
                                                                                                                Document    1
                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       I, Paul Kozelek, being first duly sworn, hereby depose and state as follows:

                         INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application for a search warrant for records

and information associated with certain “connected cars” that are in the possession, custody,

and/or control of the following company(s): Toyota Motor Sales, USA and Toyota Motor North

America, Inc. (here in, Toyota) whose representative is CT Corporation located at 301 South

Bedford Street, Madison, WI 53703. The information to be searched is described in the

following paragraphs and in Attachment A. This affidavit is made in support of an application

for a search warrant under 18 U.S.C. § 2703(c)(1)(A) to require Toyota to disclose to the

government copies of the information further described in Attachment B.

       2.      I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and

Explosives (ATF), and have been since January of 2020. Prior to my employment with ATF, I

was a Sheriff’s Deputy with the Jackson County Sheriff’s Office in Black River Falls, WI. My

duties included patrol, drafting and executing search warrants, and investigations related to state

and county criminal violations. Previous to my tenure with the Jackson County Sheriff’s Office,

I served with the United State Marine Corps from 2004 until 2008, and the United States Marine

Corps Reserve from 2011 until 2014. I left the Marine Corps as an E6/Staff Sergeant holding the

billet of Platoon Commander. I received my bachelor’s degree in Criminal Justice Administration

from Viterbo University, La Crosse, WI in 2016.

       3.      I have completed approximately 26 weeks of training at the Federal Law

Enforcement Training Center in Glynco, Georgia, as well as the ATF National Academy. That

training included various legal courses related to constitutional law as well as search and seizure




       Case 2:24-mj-00520-SCD           Filed 11/07/24      Page 7 of 16      Document 1
authority. Additionally, I have received training on how to conduct various tasks associated with

criminal investigations, such as interviewing, surveillance, and evidence collection.

       4.      I have previously applied for and received search warrants related to cell site data

and other related cellphone company records.

       5.      This affidavit is based upon my personal knowledge as well as information

provided to me by other federal, state, and local law enforcement officers during the course of their

official duties, all of whom I believe to be truthful and reliable. This affidavit is also based upon

information gathered from interviews of citizen witnesses, reports, official records, law

enforcement reports, and my training and experience.

       6.      Based on the facts set forth in this affidavit, there is probable cause to believe that

violations of Title 18 U.S.C. §§ 2119 (motor vehicle robbery/carjacking) and 924(c) (brandishing

a firearm during a crime of violence) have been committed by multiple unknown individuals.

There is also probable cause to search the information described in Attachment A for evidence of

these crimes as further described in Attachment B.

                                      PROBABLE CAUSE

       7.      Your Affiant reviewed Milwaukee Police Department report #C2404270032. Your

affiant is aware that on April 27, 2024, at approximately 4:00 AM the victim identified as A.W.

(F/B DOB XX/XX/1999) left her place of work at the Potawatomi Casino located at 1721 W.

Canal St. in the City of Milwaukee. A.W. drove to her residence and parked in front of 2298 W.

Kilbourn Ave. at approximately 4:06 AM. A.W. told police she fell asleep in the driver seat of her

vehicle. At 5:00 AM, she was awoken by Suspect 1 and Suspect 2 opening the doors of her vehicle.

A.W. stated a black male wearing a facemask and holding a handgun demanded she exit the

vehicle, while Suspect 2 opened the rear passenger door, also masked and holding a handgun.



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       Case 2:24-mj-00520-SCD            Filed 11/07/24      Page 8 of 16      Document 1
A.W. exited her vehicle and Suspect 1 entered the driver seat while Suspect 2 entered the front

passenger seat and drove off with the vehicle. A.W. immediately called police to report the

incident.

       8.      The vehicle was described as a 2023 Toyota Camry, silver in color bearing

Wyoming license plate 019219, VIN #4T1G11AK4PU760822 (Device 1). This vehicle was rented

from Enterprise Rent-A-Car. A.W. contacted Enterprise and was given location information for

the vehicle. At 7:20 AM officers were notified the vehicle was parked behind 4801 W. Hampton

Ave. in Milwaukee. This address is a 12-unit apartment building. Officers arrived and located the

vehicle parked in the rear parking lot for the building. Officers canvased the apartment building

and spoke with several tenants. As officers were outside the building, they could hear a male and

female inside of apartment one though an open window. When officers tried to get their attention

to open the locked outer door to the building, they shut the window. When officers did get inside,

they knocked on apartment one whose door was partially open. A female with bright pink hair

answered but the male told her to close the door. A few minutes later the male and female exited

apartment one and officers approached. The male denied knowing about the stolen vehicle and did

not have any information, then the two quickly left.

       9.       Later, as the vehicle was being towed, a female who identified herself to officers

as T.S. (F/B DOB XX/XX/1973) asked why the vehicle was being towed and stated “they just

moved in." Upon questioning T.S. stated at about 7:00 AM that morning she was in the parking

lot and saw the male exit the driver seat and female “with pink hair” exit the passenger seat of the

vehicle. Officers showed body camera footage to T.S. who confirmed it was the male and female

from apartment one.




                                                       3
       Case 2:24-mj-00520-SCD           Filed 11/07/24      Page 9 of 16      Document 1
       10.     The vehicle was processed by Milwaukee Police Department (MPD) and three

latent prints were lifted. One of these prints was a palm print from the exterior of the passenger

side rear window. This matched to Anthony T. TATE (M/B DOB XX/XX/2000). A review of

TATE’s criminal history showed a felony conviction on October 24, 2018, Waukesha Co. case

#2018CF001101 for drive/operate vehicle without owner’s consent, and on April 21, 2022,

Milwaukee Co. case #22020CF002387 robbery with threat of force.

       11.     On May 28, 2024, a federal subpoena was issued to Toyota Motor North America

Inc. seeking the International Mobile Equipment Identity (IMEI) number for the Toyota Camry

bearing VIN #4T1G11AK4PU760822. On June 6, 2024, SA Kozelek received a reply from Toyota

Motor North America Inc. showing the IMEI number to be 350182015213236. In my training and

experience, identifying the location of the stolen vehicle during the time frame of the theft will aid

in identifying the identities of Suspect 1 and Suspect 2.

       12.     In my training and experience, I have learned it is possible to obtain historical

location data from certain vehicles based on an onboard cellular device installed in the vehicle.

The installed cellular device is assigned two identifiers known as the International Mobile

Equipment Identity (which is analogous to a serial number assigned to the device and abbreviated

“IMEI”) and an International Mobile Subscriber Identity (which is assigned to a subscriber and

abbreviated “IMSI”). Your affiant knows that vehicle manufacturers maintain records regarding

the IMEI/IMSI numbers associated with each vehicle equipped with a cellular modem, and that if

a vehicle identification number (VIN) is provided to the manufacturer, the IMEI/IMSI numbers

associated with that particular device and vehicle can be obtained from the manufacturer. These

identifiers allow the cellular device in the vehicle access to a cellular network and once connected

to the network, the device can send and receive data across the cellular network.



                                                      4
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       13.     Manufacturers often use this data connection for vehicle performance monitoring,

sending software updates to the vehicle, and to enrich the user experience by providing a “wifi

hotspot” which connected users can access online content. This cellular device operates like a

cellular phone on the cellular providers network and the network creates and maintains records for

the device which can include the date and time of connections, the tower and sector that provided

the connections, and specialized location data. Once the IMEI/IMSI number is identified, records

containing the location data associated with the cellular device in the vehicle can be sought from

the cellular provider. These records would allow your affiant to geolocate the location of the

vehicle at times relevant to the investigation.

       14.     In many instances, the manufacturer, in addition to any cellular service to the

vehicle, can utilize GPS positioning to provide navigation services (i.e., maps and directions),

“find my car” services, and stolen vehicle recovery. The manufacturers collect and retain this

information for a period of time depending on a variety of factors, including whether or not the

vehicle owner subscribes to certain services. In this instance, Toyota offers “connected services”

which include “Safety Connect” which is an Emergency Assistance Button, Enhanced Roadside

Assistance, Automatic Collision Notification, and a Stolen Vehicle Locator. Another service is

”Service Connect’ which includes Vehicle Health Reports, Vehicle Maintenance Alerts, and

Maintenance Reminders. It allows up-to-date information on the health and status of the vehicle.

Another service is called “Drive Connect” which allows access to real-time traffic elements, 24/7

live agents and voice commands. It allows access to features on the Cloud as well as live agents

can help drivers get to their destination. A fourth service is called “Remote Connect” and allows

a vehicle owner to start, lock/unlock doors, using a smart device including a smart watch. A last

service is called “Wi-Fi Connect” which connects the vehicle to cell tower services provided by



                                                    5
       Case 2:24-mj-00520-SCD           Filed 11/07/24    Page 11 of 16      Document 1
AT&T. This service connects up to five devices using 4G LTE technology (as of 2024). Also

available on select 2022 and later Toyota vehicles, is Integrated Streaming which allows users to

connect existing Apple Music and/or Amazon Music subscription through the onboard Audio

Source feature.

       15.     These features all rely on GPS positioning as well as a cellular connection, and with

the vehicle identification number, Toyota can provide the historical records for the vehicle at a

given date/time.

       16.     These services, both the cellular connection and GPS positioning, are based on

services to which the vehicle owner subscribes. A subscription requires an online account through

Toyota and Toyota collects certain information (per their privacy policy) about the subscriber

including an account name, account holder/username, date of birth, postal address, email

addresses, and driver's license number. Toyota (again per their privacy policy) may also collect

information about devices connected to the vehicle to utilize services and/or devices which access

the Toyota Connect services application. This information can be important to identify the persons

in and around the vehicle.

       17.     Thus, the records described in Attachment A will identify the location of the

following device:

                    a. 2023 Toyota Camry bearing VIN #4T1G11AK4PU760822, IMEI

                       #350182015213236 on April 27, 2024, from 3:00 AM until 7:20 AM.

       18.     Probable cause exists to believe that the records requested contain evidence related

to identifying the unknown individuals who committed violations of Title 18 U.S.C. §§ 2119(1)

(Carjacking) and 924(c) (brandishing a firearm during a crime of violence).




                                                    6
      Case 2:24-mj-00520-SCD           Filed 11/07/24      Page 12 of 16       Document 1
                                AUTHORIZATION REQUEST

       19.     Based on the foregoing, I request that the Court issue the proposed search warrant,

pursuant to 18 U.S.C. § 2703 and Federal Rule of Criminal Procedure 41.

       20.     I further request that the Court direct Toyota Motor Sales, USA and Toyota Motor

North America, Inc. whose representative is CT Corporation to disclose to the government any

information described in Attachment B that is within its possession, custody, or control. Because

the warrant will be served on Toyota who will then compile the requested records at a time

convenient to it, reasonable cause exists to permit the execution of the requested warrant at any

time in the day or night.

       21.     I further request that the Court order that all papers in support of this application,

including the affidavit and search warrant, be sealed until further order of the Court. These

documents discuss an ongoing criminal investigation that is neither public nor known to all of the

targets of the investigation. Accordingly, there is good cause to seal these documents because their

premature disclosure may seriously jeopardize that investigation, including by giving targets an

opportunity to destroy or tamper with evidence, change patterns of behavior, notify confederates,

and flee from prosecution.




                                                     7
       Case 2:24-mj-00520-SCD          Filed 11/07/24       Page 13 of 16      Document 1
                                       ATTACHMENT A

                                    Property to Be Searched

       This warrant applies to GPS location data for all records and unique device/user

identifiers pertaining to location information during the following listed date and times,

       1.      Device #1:

       IMEI #350182015213236 belonging to 2023 Toyota Camry bearing VIN

       #4T1G11AK4PU760822, on April 27, 2024, from 3:00 AM until 7:20 AM.




                                                     8
      Case 2:24-mj-00520-SCD            Filed 11/07/24     Page 14 of 16       Document 1
                                            ATTACHMENT B

                                      Particular Things to be Seized

   I.      Information to be Disclosed by the Provider

        To the extent that the information described in Attachment A is within the possession,

custody, or control of Toyota Motor Sales, USA and Toyota Motor North America, Inc., including

any information that has been deleted but is still available to the Provider or that has been preserved

pursuant to a request made under 18 U.S.C. § 2703(f), the Provider is required to disclose to the

government the following information pertaining to the Account listed in Attachment A for the

time period of April 27, 2024, from 3:00 AM until 7:20 AM:

           a. The following information about the customers or subscribers of the Account:

                    i. Account Names (including subscriber names, usernames, and screen

                       names);

                   ii. Addresses (including mailing addresses, residential addresses, business
                       addresses, and e-mail addresses);

                  iii. GPS locations of the vehicle;

                   iv. Other subscriber numbers or identities (including the registration Internet
                       Protocol (“IP”) address);

                   v. Means and source of payment for such service (including any credit card
                      or bank account number) and billing records;

           b. All records and other information (not including the contents of communications)

               relating to wire and electronic communications sent or received by the Account,

               including:

                    i. MMS, and data; email addresses and IP addresses (including source and
                       destination); websites visited;

                    i. IMEI/IMSI, or other device identifiers of devices connected to the
                       onboard “connected services” of the vehicle;


                                                       9
        Case 2:24-mj-00520-SCD           Filed 11/07/24      Page 15 of 16       Document 1
                    ii. All historical text content available pursuant to this warrant.


                   iii. Data obtained by Toyota which is collected from devices which connect to
                        the onboard “connected services” of the vehicle, including text, email,
                        contact lists, phone numbers, IMSI/IMEI numbers, IP addresses,
                        advertising ID numbers, social media accounts.

   II.      Information to be Seized by the Government

         All information described above in Section I that constitutes evidence, fruits, contraband,

and instrumentalities of violations of Title 18 U.S.C. §§ 2119(1) (Carjacking) and 924(c)

(Brandishing of a Firearm during a Crime of Violence).

         Law enforcement personnel (who may include, in addition to law enforcement officers and

agents, attorneys for the government, attorney support staff, agency personnel assisting the

government in this investigation, and outside technical experts under government control) are

authorized to review the records produced by the Provider in order to locate the things particularly

described in this Warrant.




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         Case 2:24-mj-00520-SCD          Filed 11/07/24      Page 16 of 16       Document 1
